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Attorneys for Plaintiffs

                                UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


 UNITED KP FREEDOM ALLIANCE, an                        Case No. 3:21-cv-07894-VC
 unincorporated association; LE-LAN JORGENSEN,
 an individual; LAURA YVANOVICH, an
 individual; ROBIN DRUMMOND, an individual,            NOTICE OF VOLUNTARY
 TRACEY FORD, an individual; NATALIE OGLE,             DISMISSAL OF ENTIRE CASE
 an individual; and NATHAN LEAVITT, an                 WITHOUT PREJUDICE
 individual;

                           Plaintiffs,
         v.

 KAISER PERMANENTE (Kaiser Foundation                  Judge: Hon. Vince Chhabria
 Hospitals, Kaiser Foundation Health Plan, Inc., the   Dept: Courtroom 4
 Permanente Medical Group, Inc.) and DOES I-X;
                                                       Complaint Filed: 10/07/2021
                       Defendants.                     Trial Date: None set




TO THE HONORABLE COURT, ALL PARTIES, AND COUNSEL:

       NOTICE IS HEREBY GIVEN that pursuant to Federal Rules of Civil Procedure

41(a)(1)(A)(i), Plaintiffs UNITED KP FREEDOM ALLIANCE, LE-LAN JORGENSEN,



                                 1
NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE CASE WITHOUT PREJUDICE
Case No. 3:21-cv-07894-VC
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LAURA YVANOVICH, ROBIN DRUMMOND, TRACEY FORD, NATALIE OGLE, and

NATHAN LEAVITT, voluntarily dismiss without prejudice the entire above-entitled action. The

dismissal is made before service of an answer or motion for summary judgment and shall be

without prejudice, with each side to bear its own costs and fees.



Dated: 11/30/2021                                            JW Howard/ Attorneys, Ltd.

                                                             /s/ John W. Howard
                                                             John W. Howard
                                                             Attorneys for Plaintiffs




                                 2
NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE CASE WITHOUT PREJUDICE
Case No. 3:21-cv-07894-VC
